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                                                                             2017 Jun-12 PM 03:41
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

KELLY FALLETTA,                              )
An individual,                               )
                                             )
      PLAINTIFF,                             )
                                             )
Vs.                                          ) CASE NO. CV ________________
                                             )
HEALTH AND WELFARE BENEFIT                   )
PLANS OF VULCAN MATERIALS                    )
COMPANY; VULCAN MATERIALS                    )
COMPANY; and HARTFORD LIFE                   )
AND ACCIDENT INSURANCE                       )
COMPANY;                                     )
                                             )
      DEFENDANTS.                            )
                                             )

                                  COMPLAINT

      COMES NOW Plaintiff Kelly Falletta, and hereby Complains of Defendants

Health and Welfare Benefit Plans of Vulcan Materials Company (the “Plan”),

Vulcan Materials Company (“Vulcan”), and Hartford Life and Accident Insurance

Company (“Hartford”) for Damages and such other relief as may be appropriate by

stating as follows:

                              Statement of the Parties

      1.       Kelly Falletta, (“Mrs. Falletta") is an individual over the age of

nineteen (19) and a resident of Birmingham, Alabama.
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      2.       Defendant Plan is an employee benefit plan provided by Vulcan to its

employees such as Mrs. Falletta.

      3.       Defendant Vulcan is a foreign corporation organized under the laws of

New Jersey but with its principal place of business in Birmingham, Jefferson

County, Alabama.

      4.       Defendant Hartford is a foreign insurance corporation organized under

the laws of Connecticut and doing business in Birmingham, Jefferson County,

Alabama.

                                     Jurisdiction

      5.       This matter comes before this Honorable Court pursuant to the

Employee Retirement Income and Security Act (ERISA). 29 U.S.C. § 1132

(e)(1)(2).

                                Statement of the Facts

      6.       Kelly Falletta had a disability policy with under Defendant Plan with

Defendant Hartford by and through her employer, Vulcan.

      7.       Upon information and belief, Defendant Vulcan is the administrator of

the Plan, and Defendant Hartford provided a long term disability policy to Mrs.

Falletta with policy number GLT-675614.

      8.       Upon information and belief, Defendant Vulcan, as the administrator

and sponsor of Defendant Plan and Defendant Hartford as assignee of the Plan,


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have a conflict of interest with respect to the determination and denial of Mrs.

Falletta’s benefits under her long term disability policy.

        9.       Mrs. Falletta has been treated for a spinal deformity by various

medical providers including: Thomas Wilson, M.D., St. Vincent’s Hospital,

Robert Nesbitt, M.D., Brookwood Medical Center, Catherine Thomas, M.D.,

David Cosgrove, M.D., and A. Khan, M.D.

        10.      According to Dr. Wilson, Mrs. Falletta suffers from chronic back pain

and leg pain related to a spinal deformity condition which limits her ability to sit

for a prolonged period. Further, Dr. Wilson noted that Mrs. Falletta has a grade 2-

3 spondylolisthesis at L5-S1, and is status post fusion L5-S1. Further, Dr. Wilson

has stated that Mrs. Falletta will be incapacitated “indefinitely” due to her medical

condition and that she will need a reduced work schedule as a result. In light of

her episodic flare-ups, Dr. Wilson opined that Mrs. Falletta will be prevented from

performing her job functions and that it will be necessary for her to be absent from

work because she “must lay down (take pressure off spine) and take pain

medication.” The flare-ups will occur frequently: 14-24 hours per day, and

according to Dr. Wilson, this condition is chronic and permanent.

        11.      David Cosgrove, M.D. also examined Mrs. Falletta and treated her for

pain.




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        12.   Dr. Cosgrove indicated to Defendants that Mrs. Falletta has

spondylolisthesis, post operative radiculopathy, spinal stenosis, chronic back pain,

leg pain and weakness. He further stated that Mrs. Falletta would need to change

positions frequently, alternating between standing, sitting and lying down and

noted that she should never bend at waist, kneel/crouch, climb, balance, drive or

lift.

        13.   According to Dr. Cosgrove, Mrs. Falletta “will be unable to tolerate

gainful employment even at a sedentary level for the remainder of her life.”

        14.   Finally, Dr. Thomas also provided Defendants with a medical

assessment of Mrs. Falletta. According to Dr. Thomas, Mrs. Falletta has lumbar

disc disease and mixed anxiety depressive disorder and back pain.

        15.   Dr. Thomas has stated that in a general workplace environment, Mrs.

Falletta would not be able to sit, stand or walk for more than one hour at a time,

and these restrictions are for her lifetime.

        16.   As a result, Mrs. Falletta applied for, and received, Social Security

Disability benefits.

        17.   In light of the Social Security ruling and her doctor’s opinions, Mrs.

Falletta applied for her Long Term Disability (“LTD”) benefits with Defendants.

        18.   On or about June 30, 2016, Defendants denied Mrs. Falletta’s claim

for LTD.


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      19.    Mrs. Falletta appealed that decision, and on December 16, 2016,

Defendants once again denied Mrs. Falletta’s claim for LTD, upholding the June

30, 2016 decision.

      20.    On February 20, 2017, the undersigned counsel sent a letter to

Defendant Hartford along with a report from Russ Gurley, LPC, a vocational

expert, assessing Mrs. Falletta’s employability and vocational disability. A copy

of said letter and report are attached hereto as Exhibit “A”.

      21.    Mr. Gurley clearly states in his report that “Mrs. Falletta is 100%

permanently totally disabled from all work. She meets the definition of disabled as

defined by [the Plan]. Mrs. Falletta is disabled from her own occupation and any

other occupation.”

      22.    Further, Mr. Gurley reported, “The subjective presentation of Mrs.

Falletta during this vocational assessment would further indicate that no reasonable

employer would hire her if in fact she has to squirm, squat, crouch, rock, and crawl

constantly to try and find a position of comfort.”

      23.    Defendant Hartford responded on March 16, 2017 refusing to consider

Russ Gurley’s report and stating the appeal period had been exhausted and that

Defendants would refuse to consider any additional information such as Russ

Gurley’s report. A copy of said letter is attached hereto as Exhibit “B”.




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       24.   On April 14, 2017, Mrs. Falletta’s undersigned counsel again sent a

letter to Defendant Hartford, and a copy of said letter is attached hereto as Exhibit

“C”.

       25.   In said letter, the undersigned counsel cited case authority for the

rationale behind the Plan as well as for considering additional information such as

Russ Gurley, LPC’s report.

       26.   Further, Plaintiff clearly requested Form 5500 filed with the IRS in

order to determine how the Plan was designated with the Federal Government.

       27.   On May 8, 2017, Defendants responded to the April 14, 2017 letter

reiterating the fact that Defendants would not consider any additional information

AND refusing to provide copies of any and all plans and Form 5500’s. A copy of

said letter is attached hereto as Exhibit “D”.

       28.   As a result, this lawsuit was initiated.

                                  ERISA CLAIMS

       29.   Plaintiff restates all paragraphs above as if fully set forth herein.

       30.   Defendants abused their discretion and acted unreasonably, arbitrarily

and capriciously in denying Plaintiff her LTD.

       31.   Defendants have improperly denied Plaintiff her LTD benefits in the

following manner:




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             a.     They failed to acknowledge the findings of the treating

      physicians who indicated that Mrs. Falletta was unable to work;

             b.     They failed to take into account the medical records of the

      treating physicians;

             c.     They failed to take into consideration the fact that Plaintiff was

      awarded Social Security disability benefits and didn’t even inquire as to

      what medical evaluation was performed by the Social Security

      Administration;

             d.     They evaluated the medical and vocational evidence in a biased

      manner;

             e.     They never had Plaintiff examined by an independent

      physician;

             f.     They ignored the reports provided by Plaintiff;

             g.     Defendants abused their discretion and acted arbitrarily and

      capriciously in their review and denial of Mrs. Falletta’s claim for LTD; and

      30.    The Defendant's denial of long-term disability benefits is a violation

of 29 U.S.C. §1132(a)(1).

      WHEREFORE, Plaintiff Kelly Falletta prays for the following relief: a)

Declaratory relief that she is entitled to disability benefits, past and present, plus




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interest; b) Reasonable attorney fees and costs pursuant to 29 U.S.C. §1132(a); and

c) Any other relief that this Honorable Court deems appropriate.

            ERISA CLAIMS FOR RELIEF COUNT V
PENALTY AGAINST DEFENDANTS VULCAN AND HARTFORD AS THE
  CLAIMS ADMINISTRATOR AND THE ACTING DE FACTO PLAN
   ADMINISTRATOR FOR FAILURE TO PROVIDE DOCUMENTS
             PURSUANT TO 29 U.S.C. § 1132 (c)(1)

       31.    Plaintiff Mrs. Falletta incorporates the allegations set forth in all

preceding paragraphs above as if set forth in full herein.

       32.    Plaintiff Mrs. Falletta, through counsel, made written request for

documents from Defendants VULCAN/HARTFORD, and

VULCAN/HARTFORD failed to provide certain documents, and as a result, Mrs.

Falletta was harmed by VULCAN/HARTFORD’s failure to provide such

documents; therefore, VULCAN/HARTFORD should be required to pay the

maximum penalty for the withholding of documents pursuant to ERISA.

       33.    Mrs. Falletta, as a participant and beneficiary, has a right to enforce

this obligation and seek redress of an administrator’s violation. ERISA § 502(c),

“a civil action may be brought (1) by a participant or beneficiary (A) for relief

provided for in subsection (c) of this section.”

       34.    VULCAN/HARTFORD was the claims administrator for the LTD

Plan and controlled the entire claims and appeals process following Mrs. Falletta’s

initial application for benefits.


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      35.      Administrators have an obligation to provide information, including a

duty to respond to written requests for information about the employee benefits

and the documents relevant to a claim for benefits, and participants and

beneficiaries have a cause of action if the Administrators do not provide the

information.

      36.      ERISA § 502(c), 29 U.S.C. § 1132(c) provides for penalties for an

administrator’s refusal to supply required information. Under that section of

ERISA:

               (1) Any administrator….[who fails to provide certain
               information]

               (B) who fails or refuses to comply with a request for any
               information which such administrator is required by this
               subchapter to furnish to a participant or beneficiary
               (unless such failure or refusal results from matters
               reasonably beyond the control of the administrator) by
               mailing the material requested to the last known address
               of the requesting participant or beneficiary within 30
               days after such request may in the court's discretion be
               personally liable to such participant or beneficiary in the
               amount of up to $100 a day from the date of such failure
               or refusal, and the court may in its discretion order such
               other relief as it deems proper. For purposes of this
               paragraph, each violation described in subparagraph (A)
               with respect to any single participant, and each violation
               described in subparagraph (B) with respect to any single
               participant or beneficiary, shall be treated as a separate
               violation.




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      37.    The penalty is due to be paid by any administrator who fails or refuses

to comply with a request for information “which such administrator is required

by this subchapter to furnish to a participant or beneficiary.”

      38.    This penalty applies to the failure to provide the documents relevant

to the plan: “(4) The administrator shall, upon written request of any participant or

beneficiary, furnish a copy of the latest updated summary, plan description, and

the latest annual report, any terminal report, the bargaining agreement, trust

agreement, contract, or other instruments under which the plan is established or

operated.” The administrator may make a reasonable charge to cover the cost of

furnishing such complete copies. The Secretary may by regulation prescribe the

maximum amount which will constitute a reasonable charge under the preceding

sentence. (emphasis added). ERISA § 104(b)(4), 29 U.S.C. § 1024(b)(4).

      39.    In addition to the summary plan descriptions and other documents

under which the plan is operated, ERISA § 109(c), 29 U.S.C. § 1029 provides that

the Secretary of Labor may also prescribe what other documents should be

furnished:

             (c) Format and content of summary plan description,
             annual report, etc., required to be furnished to plan
             participants and beneficiaries. The Secretary may
             prescribe the format and content of the summary plan
             description, the summary of the annual report described
             in section 1024(b)(3) of this title and any other report,
             statements or documents (other than the bargaining
             agreement, trust agreement, contract, or other instrument

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             under which the plan is established or operated), which
             are required to be furnished or made available to plan
             participants and beneficiaries receiving benefits under
             the plan.

[emphasis added]


      40.    Pursuant to §109(c) and 502(c) together, the Secretary is given

authority to establish the format and content of what documents are required to be

produced “by this subchapter.” Therefore, “Any administrator . . . (B) who fails or

refuses to comply with a request for any information which such administrator is

required by this subchapter to furnish to . . .may in the court's discretion be

personally liable” for a § 502(c) penalty.

      41.    Also, the Secretary has general authority under “this subchapter” to

“prescribe such regulations as he finds necessary or appropriate to carry out the

provisions of this title. ERISA § 505, 29 U.S.C. § 1135.

      42.    The Secretary of Labor’s ERISA claim procedures regulations, set out

in 29 C.F.R. § 2560.503-1 (h)(2)(iii) describe what documents an administrator

must provide.

      43.    The regulations state that, in order to provide a full and fair review, a

claimant shall be provided, upon request and free of charge, reasonable access to,

and copies of, all documents, records, and other information relevant to the

claimant's claim for benefits. Whether a document, record, or other information is


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relevant to a claim for benefits shall be determined by reference to paragraph

(m)(8) of this section.

      44.    The Secretary explains at Paragraph (m)(8) what documents are

relevant to the claim, and are thus required to be produced under ERISA:

             A document, record, or other information shall be
             considered "relevant" to a claimant's claim if such
             document, record, or other information.

             (i)     Was relied upon in making the benefit
                     determination;

             (ii)    Was submitted, considered, or generated in the
                     course of making the benefit determination,
                     without regard to whether such document, record,
                     or other information was relied upon in making the
                     benefit determination;

             (iii)   Demonstrates compliance with the administrative
                     processes and safeguards required pursuant to
                     paragraph (b)(5) of this section in making the
                     benefit determination; or

             (iv)    In the case of a group health plan or a plan
                     providing disability benefits, constitutes a
                     statement of policy or guidance with respect to the
                     plan concerning the denied treatment option or
                     benefit for the claimant's diagnosis, without regard
                     to whether such advice or statement was relied
                     upon in making the benefit determination.

      45.    VULCAN/HARTFORD had an obligation to provide all the

documents relevant to a claim that are required to be provided by the Department

of Labor’s ERISA claims regulations.


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      46.    VULCAN/HARTFORD as the claims administrator and de facto plan

administrator was in possession of all the documents requested by Mrs. Falletta.

Moreover, VULCAN/HARTFORD was the only entity with any obligation to

provide the documents that was also in possession of the documents requested.

      47.    VULCAN/HARTFORD failed to provide the information requested to

be provided under ERISA regulations within 30 days and failed to provide all the

information requested that ERISA requires be provided.

      WHEREFORE, Plaintiff Kelly Falletta prays this Honorable Court enter an

award in favor of Plaintiff Kelly Falletta and against Defendants Vulcan and

Hartford for civil penalty damages in the amount of One Hundred Ten and no/100

Dollars ($110) per day from May 15, 2017 and continuing until such information is

provided by the Administrator/Plan Sponsor Vulcan and the de facto Administrator

Hartford in addition to a reasonable attorney fee.

                                              Respectfully Submitted

                                              /s/Jon E. Lewis_______
                                              Jon E. Lewis (LEW033)
                                              Attorney for Plaintiff
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SERVE DEFENDANTS BY CERTIFIED MAIL AS FOLLOWS:

Health and Welfare Benefit Plans of Vulcan Materials Company
c/o Vulcan Materials Company
1200 Urban Center Dr.
Birmingham, AL35242

Vulcan Materials Company
Corporation Service Company Inc.
641 South Lawrence Street
Montgomery, AL 36104

Hartford Life and Accident Insurance Company
CT Corporation System
2 North Jackson Street
Suite 605
Montgomery, AL 36104




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